   Case 4:17-cv-01473 Document 104 Filed on 07/11/19 in TXSD Page 1 of 7



                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION


TAMMY KOHR, EUGENE STROMAN, and
JANELLE GIBBS, on behalf of themselves and all
others similarly situated, and ROBERT COLTON,

                               Plaintiffs,
                       vs.                       C.A. No. 4:17-cv-01473

CITY OF HOUSTON,

                               Defendant.

       UNOPPOSED MOTION TO WITHDRAW BY PLAINTIFFS’ COUNSEL
         Case 4:17-cv-01473 Document 104 Filed on 07/11/19 in TXSD Page 2 of 7



                                 NATURE AND STAGE OF PROCEEDING

          This action seeks classwide injunctive relief against a series of Houston ordinances that

effectively criminalize homelessness. The parties are in the midst of discovery. The City’s motion to

dismiss is pending. No class has been certified.

                                    ISSUES TO BE RULED UPON

          Plaintiffs’ counsel of record seek to leave of court to withdraw from representing Plaintiffs.

“[A] lawyer shall not withdraw from representing a client unless: . . . the representation . . . has been

rendered unreasonably difficult by the client,” or “other good cause for withdrawal exists.” Tex.

D.R. 1.15(b). The matter of attorney withdrawal is “entrusted to the sound discretion of the court.”

Gowdy v. Marine Spill Response Corp., 925 F.3d 200, 204 (5th Cir. 2019). “[W]ithdrawal of

counsel-in-charge may be effected by motion and order, under conditions imposed by the Court.”

Local Rule 83.2.

          Given the upcoming July 31 deadline to file dispositive motions and the unopposed nature

of this motion, Plaintiffs’ counsel respectfully request that the Court consider this motion “as soon

as practicable.” Local Rule 7.2.

                                              ARGUMENT

    I.    Statement of Facts

          Plaintiffs’ counsel reveal the following information in order to establish good cause for

withdrawal under Rule 1.15 of the Texas Disciplinary Rules of Professional Conduct. To the

extent this information is “confidential information” or “unprivileged client information” under

Rule 1.05, this disclosure is permitted under Rules 1.05(c)(4) and 1.05(d)(1), respectively.1


1
 If the Court requires further information, Plaintiffs’ counsel request an ex parte conference,
consistent with this Court’s practice in Haigh v. Citibank, N.A., No. 4:15-cv-00362, ECF No. 21
(S.D. Tex. Aug. 6, 2015) (Hoyt, J.).

                                                     1
       Case 4:17-cv-01473 Document 104 Filed on 07/11/19 in TXSD Page 3 of 7



        Plaintiffs are indigent residents of Houston who are or were (as of filing the complaint in

this action) homeless. See ECF No. 16 ¶¶ 7-10, 16-18, 25-27, 36-37. As of June 20, 2019,

Plaintiffs’ counsel assessed that they could not satisfy the City’s discovery requests relating to

Plaintiffs Stroman, Colton, and Gibbs due to their absence of communication with counsel,

despite counsel’s repeated efforts to contact them, and notice that their failure to respond would

result in counsel’s withdrawal from representation. Thus, on June 20, Plaintiffs’ counsel

informed the City of their intent to withdraw from representation of those clients, leaving

Tammy Kohr as the sole represented Plaintiff. Ex. A.

        Plaintiffs’ counsel served written discovery responses on behalf of Ms. Kohr on June 18,

2019, and scheduled her deposition for June 25. Exs. B, A. However, since June 21, Ms. Kohr

has failed to respond to further communications with counsel. Plaintiffs’ counsel engaged in over

two weeks of diligent yet unsuccessful outreach to Ms. Kohr, including repeated notice that her

failure to respond would result in counsel’s withdrawal from representation. On July 8,

Plaintiffs’ counsel informed the City of Houston of their intent to withdraw from representation

of Ms. Kohr. Ex. C.

 II.    Argument

        The matter of attorney withdrawal is “entrusted to the sound discretion of the court.” Gowdy

v. Marine Spill Response Corp., 925 F.3d 200, 204 (5th Cir. 2019). An attorney may withdraw from

representation upon leave of the court and a showing of good cause and reasonable notice to the

client. Id. (citing Matter of Wynn, 889 F.2d 644, 646 (5th Cir. 1989)).

        Despite counsel’s repeated attempts to communicate, Plaintiffs have failed to respond, and

Plaintiffs’ counsel are unable to fulfill the City’s discovery requests. Withdrawal is appropriate

because Plaintiffs have rendered counsel’s representation unreasonably difficult, despite reasonable



                                                   2
     Case 4:17-cv-01473 Document 104 Filed on 07/11/19 in TXSD Page 4 of 7



notice to the clients that failure to communicate would result in counsel’s withdrawal. See Tex. D.R.

1.15(b)(6). Plaintiffs’ failure to communicate is also good cause to excuse this Court’s requirement

that the attorney-in-charge must designate substitute counsel upon withdrawal. Hoyt, J., Procedures

at 5. Plaintiffs have not advised counsel of their intention to retain new counsel, or their intention to

proceed pro se.

        Permitting withdrawal under these circumstances would be consistent with this Court’s

ruling in Haigh v. Citibank, N.A., No. 4:15-cv-00362 (S.D. Tex.) (Hoyt, J.). In Haigh, this Court

permitted plaintiffs’ counsel to withdraw without designation of a substitute attorney, in light of the

clients’ failure to communicate and cooperate. Id., ECF No. 16 (S.D. Tex. July 17, 2015) (motion

for withdrawal); id., ECF No. 22 (S.D. Tex. Aug. 17, 2015) (granting motion for withdrawal);

accord Statue of Liberty—Ellis Island Found., Inc. v. Int’l United Indus., Inc., 110 F.R.D. 395, 397

(S.D.N.Y. 1986) (seeing “no purpose in requiring the law firm’s continued appearance” where the

client “failed to answer its telephone calls and letters regarding the conduct of the litigation in

general and the scheduling of depositions in particular”); cf. LR 83.2 (“Although no delay will be

countenanced because of a change in counsel, withdrawal of counsel-in-charge may be effected by

motion and order, under conditions imposed by the Court.”).

        Plaintiffs’ counsel have delivered a copy of this motion to Plaintiffs by email and

certified regular mail to Plaintiffs’ last known addresses. Plaintiffs’ counsel propose an order

permitting their withdrawal on condition that (1) Plaintiffs’ counsel will provide the Clerk of

Court and all counsel with Plaintiffs’ last known addresses for service of all unsealed pleadings,

notices, orders, and other documents filed onto the record of this case, and (2) if Plaintiffs

designate substitute counsel, Plaintiffs’ counsel will provide new counsel with all files.2 In the


2
 As stated above, the undersigned counsel is unaware of any intention by Plaintiffs to retain new
counsel or to proceed pro se.
                                                    3
       Case 4:17-cv-01473 Document 104 Filed on 07/11/19 in TXSD Page 5 of 7



alternative, should the Court require more information about counsel’s attempts to contact

Plaintiffs, counsel requests an ex parte telephone conference consistent with this Court’s practice

in Haigh. See Haigh v. Citibank, N.A., No. 4:15-cv-00362, ECF No. 21 (S.D. Tex. Aug. 6, 2015).

III.    Conclusion

        For these reasons, this Court should grant Plaintiffs’ counsel’s motion to withdraw.

        As noted above, given the upcoming July 31 deadline to file dispositive motions and the

unopposed nature of this motion, Plaintiffs’ counsel respectfully request that the Court consider this

motion “as soon as practicable.” Local Rule 7.2.




Dated: July 11, 2019

                                               Respectfully Submitted,


                                               By: /s/ Trisha Trigilio
                                                    (with permission by Joseph M. Abraham)
                                               Trisha Trigilio
                                               Attorney-in-charge
                                               State Bar No. 24065179
                                               S.D. Tex. Bar No. 2461809
                                               Andre Segura
                                               State Bar No. 24107112
                                               S.D. Tex. Bar No. 3123385
                                               American Civil Liberties Union
                                               Foundation of Texas
                                               5225 Katy Freeway
                                               Suite 350
                                               Houston, Texas 77007
                                               Phone 713.942.8146
                                               Fax 713.942.8966
                                               ttrigilio@aclutx.org
                                               asegura@aclutx.org



                                                   4
Case 4:17-cv-01473 Document 104 Filed on 07/11/19 in TXSD Page 6 of 7



                               Tristia Bauman
                               District of Columbia Bar No. 1016342
                               Admitted to S.D. Tex. pro hac vice
                               National Law Center on Homelessness & Poverty
                               2000 M Street NW, Suite 210
                               Washington, DC 20036
                               (202) 638-2535 x. 102
                               tbauman@nlchp.org

                               Angela M. Liu
                               Illinois Bar No. 6299353
                               Admitted to S.D. Tex. pro hac vice
                               Dechert LLP
                               35 West Wacker Drive
                               Suite 3400
                               Chicago, Illinois 60601
                               Tel.: 312-646-5800
                               Fax: 312-646-5801

                               Joseph M. Abraham
                               Texas Bar No. 24088879
                               S.D. Tex. Bar No. 2847789
                               Timothy F. Dewberry
                               Texas Bar No. 24090074
                               S.D. Tex. Bar No. 2885846
                               Jacob R. Porter
                               Texas Bar No. 24107900
                               S.D. Tex. Bar No. 3421405
                               Dechert LLP
                               300 West 6th Street, Suite 2010
                               Austin, Texas 78701
                               Tel.: 512-394-3000
                               Fax: 512-394-3001


                               Attorneys for Plaintiffs




                                  5
     Case 4:17-cv-01473 Document 104 Filed on 07/11/19 in TXSD Page 7 of 7



                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). As such, this notice was served on all counsel of record

who have consented to electronic service as this district requires in accordance with Local Rule

CV-5(a)(3)(A). Pursuant to Fed. R. Civ. P. 5(d) and Local Rule CV-5(d) and (e), all other

counsel of record not deemed to have consented to electronic service were served with a true and

correct copy of the foregoing by email on this 11th day of July, 2019.




                                             /s/ Joseph M. Abraham
                                             Joseph M. Abraham




                                                6
